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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                  §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §   Civil Action No. 4:21-cv-01236-O
                                                §
 LLOYD J. AUSTIN, III, et al.,                  §
                                                §
        Defendants.                             §


                        ORDER OF PRELIMINARY APPROVAL OF
                            SETTLEMENT AGREEMENT

        Before the Court is Plaintiffs’ Unopposed Motion to Amend the Class Definition for
Settlement Purposes, to Preliminarily Approve the Class Action Settlement, to Approve the Form
and Manner of Notice, and to Set a Date for a Fairness Hearing (“Plaintiffs’ Motion”) (ECF No.
278), filed May 31, 2024.

        The parties entered into a proposed Settlement Agreement on May 31, 2024 and requested
that the Court give its preliminary approval to that Settlement Agreement and approve the form
and method of providing notice of the proposed settlement to the Class described in the Settlement
Agreement. Unless otherwise defined, all terms used herein have the same meanings as set forth
in the Settlement Agreement. The Court has reviewed the Settlement Agreement and the
referenced Exhibits, including the proposed forms of Class Notice, and finds and FINDS as
follows:

       1. The Court entered an Order dated March 28, 2022 certifying the Class pursuant to
Federal Rule 23(b)(2) as follows:

       [A]ll members of the United States Navy who are subject to the Navy’s COVID-
       19 Vaccine Mandate and who have submitted a Religious Accommodation request
       concerning the Navy’s COVID-19 Vaccine Mandate.

       2. Because the Settlement Agreement provides relief to former class members who
withdrew their requests for religious accommodation in order to be discharged from the Navy, the
Court hereby finds good cause under Rule 23 to amend the Class definition as follows:

       All members of the United States Navy who were subject to the Navy’s COVID-
       19 Vaccine Mandate and who submitted a Religious Accommodation request
       concerning the Navy’s COVID-19 Vaccine Mandate or who submitted a Religious
       Accommodation request concerning the Navy’s COVID-19 Vaccine Mandate and

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       were separated from the Navy, even if the request was withdrawn.

        The Court concludes, after consideration of Plaintiffs’ Motion, that the Class still meets
the requirements of Rule 23 with the above amendment.

       3. The Court has considered the history of this case, the pleadings, and the statements by
Class Counsel. On a preliminary basis, the Court finds that the Settlement Agreement is fair,
reasonable, adequate and in the best interests of the Class. The Court will therefore direct that
Notice of the Settlement Agreement, in the form of the Notice hereby attached, be provided to the
Class pursuant to Fed. R. Civ. P. 23(e)(B).

        4. The Court has reviewed the form of the “Notice of Proposed Class Action Settlement
and Hearing to Approve Proposed Settlement,” which was attached as an exhibit to the Settlement
Agreement, and finds that it complies with the requirements of Fed. R. Civ. P. 23(d) and (e) and
fairly presents the terms of the Settlement Agreement and the Class Members’ rights and
responsibilities in the settlement approval process.

        5. The parties propose that Notice be sent by Defendants in the form of Attachment B to
the Settlement Agreement to all identified Class Members currently in the Navy by their navy.mil
email addresses, and to any Class Members who have since retired or left service by first class
mail to their last known address. The Court finds that such Notice, in the form hereby attached, is
the best notice practicable under the circumstances, and is reasonably calculated to effectuate
actual notice of the settlement to the Class.

        6. The proposed Notice to those Class Members provides due and sufficient notice of the
proceedings, of the proposed settlement, and of the settlement approval procedures, thus satisfying
the requirements of Fed. R. Civ. P. 23 and the requirements of due process.

       7. Therefore, based on the foregoing findings of fact and conclusions of law:

       IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED.

       IT IS FURTHER ORDERED that the parties’ Settlement Agreement is preliminarily
approved.

      IT IS FURTHER ORDERED that all proceedings not related to the approval and
implementation of the Settlement Agreement are STAYED until further Order of the Court.

        IT IS FURTHER ORDERED that the proposed Notice of Proposed Class Action
Settlement and Hearing to Approve Proposed Settlement, which was attached as Attachment B to
the Settlement Agreement, are approved by this Court and that the Notice, together with a copy of
the Settlement Agreement and any appropriate Attachments, be sent by Defendants to each Class
Member by the agreed means on or before June 17, 2024.

        IT IS FURTHER ORDERED that Defendants’ counsel will file a Declaration attesting
to such service with this Court prior to the date set for hearing on the Settlement Agreement.

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        IT IS FURTHER ORDERED that on July 24, 2024,1 at the hour of 8:30 a.m. in the
courtroom of the Honorable Reed O’Connor, United States Courthouse, Second Floor, 501 W.
10th Street, Fort Worth, Texas 76102-3673, the Court will conduct a hearing to finally determine
the fairness, reasonableness and adequacy of the terms and conditions of the settlement set forth
in the Settlement Agreement and Exhibits thereto. Should the Court find that the Settlement
Agreement is fair, reasonable, adequate, and in the best interest of the Class, the Final Order shall
be entered.

        IT IS FURTHER ORDERED that any Class Member may appear personally or by
counsel at the hearing and may object or express his or her view regarding the Settlement
Agreement and present evidence, briefs or other papers in support thereof. However, a Class
Member will not be heard, nor be entitled to contest the approval by this Court of the Settlement
Agreement, unless on or before July 17, 2024, he or she files with the Clerk of this Court written
objections, together with all papers to be submitted to this Court at the Settlement Hearing, and on
or before that date serves all such objections and other papers on each of the following: (a) Class
Counsel Heather G. Hacker, Hacker Stephens LLP, 108 Wild Basin Rd. South, Suite 250, Austin,
TX 78736, heather@hackerstephens.com; and (b) Defendants’ Counsel Andrew E. Carmichael,
United States Department of Justice, Civil Division, Federal Programs Branch, 1100 L Street
N.W., Washington, D.C. 20005, Andrew.E.Carmichael@usdoj.gov. Any Class Member who does
not file and serve his or her objections in this manner will be deemed to have waived his or her
objections and will be forever precluded from making any objections to the fairness or adequacy
of the proposed Settlement Agreement. Objections should bear the following heading: U.S. Navy
SEALs 1-26 v. Biden, Case No. 4:21-cv-01236, Objections to Proposed Class Settlement.

        IT IS FURTHER ORDERED that the hearing may be continued or adjourned by order
of this Court, from time to time, and without further notice to the Class, except any Class Member
who has timely filed an objection.

         SO ORDERED on this 5th day of June, 2024.


                                                         _____________________________________
                                                         Reed O’Connor
                                                         UNITED STATES DISTRICT JUDGE




1
  The Court is presently unable to accommodate the request to set the Rule 23(e)(2) hearing for August 27, 2024. Pls.’
Mot. 22, ECF No. 278. However, Plaintiffs alternatively request that the Rule 23(e)(2) hearing take place “no sooner
than 60 days after preliminary approval” of the settlement. Id. In an effort to accommodate this alternative request,
the Court’s schedule allows for a hearing on July 24, 2024 hearing, which is 49 days following the preliminary
approval of the parties’ Settlement Agreement and 54 days from the filing of Plaintiffs’ Motion. Should the timing of
this hearing on July 24, 2024—as well as the related notice and objection deadlines—violate Rule 23 or other
applicable federal law, the parties are ORDERED to promptly notify the Court so that scheduling changes can be
made.

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